             Case 3:18-cv-02300-WHA Document 256-3 Filed 10/26/20 Page 1 of 2



1    Paul S. Rothstein (admitted pro hac vice)
     Kyla V. Alexander (admitted pro hac vice)
2
     626 N.E. First Street
3    Gainesville, Florida 32601
     Tel: (352) 376-7650
4    Fax: (352) 374-7133
     PSR@Rothsteinforjustice.com
5
     Kyla.tm@rothsteinforjustice.com
6
     Alan J. Sherwood, SB#118330
7    Law Offices of Alan J. Sherwood
     26755 Contessa Street
8
     Hayward, CA 94545
9    alansherwood@earthlink.net
     (510) 409-6199
10
     Attorneys for Plaintiff and Settlement Class
11

12                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
13                               SAN FRANCISCO DIVISION
14
     ALEXIS BRONSON and CRYSTAL HARDIN Case No.: 3:18-cv-02300-WHA
15   on behalf of themselves
     and all other similarly situated,
16
                                                        DECLARATION OF PAUL S. ROTHSTEIN
     Plaintiffs                                         IN SUPPORT OF PLAINTIFF’S MOTION
17
                                                        FOR ORDER TO SHOW CAUSE
18   v.

19   SAMSUNG ELECTRONICS AMERICA,
     INC.,
20
     SAMSUNG ELECTRONICS CO., LTD.,                     The Honorable William H. Alsup
21
     Defendants.
22

23

24

25

26

27
                               DECLARATION OF PAUL S. ROTHSTEIN
28                                 CASE NO.: 3:18-CV-02300-WHA
                                                    PAGE 1
            Case 3:18-cv-02300-WHA Document 256-3 Filed 10/26/20 Page 2 of 2



1    I, Paul S. Rothstein, declare as follows:
2
            1. I am an attorney of record in the above styled action and one of the attorneys of
3
                record for Plaintiffs. I submit this Declaration in support of Plaintiff’s Motion for
4
                Order to Show Cause Why Sanctions Should Not be Imposed Upon Samsung
5

6               Electronics America, Inc. and Samsung Electronics Co., Ltd.

7           2. I am personally familiar with the facts set forth in this Declaration. If called as a
8
                witness, I could and would testify to the matters stated herein.
9
            3. Attached as Exhibit A is a true and correct copy of an email dated October 23, 2020,
10
                which I sent to Samsung’s Counsel regarding the retention of documents related to
11

12              the implementation of the Second Amended Settlement Agreement.

13          4. Attached as Exhibit B is a true and correct copy of a draft Notice of Deposition
14
                regarding the implementation of the Second Amended Settlement Agreement.
15
            5. I declare under penalty of perjury that the foregoing is true and correct.
16
     Executed this 26th day of October 2019.
17

18                                                          By: /s/Paul S. Rothstein
                                                            Paul S. Rothstein (admitted pro hac vice)
19                                                          626 N.E. First Street
                                                            Gainesville, Florida 32601
20
                                                            (352) 376-7650
21                                                          psr@rothsteinforjustice.com

22                                                          ATTORNEYS FOR PLAINTIFF AND
                                                            SETTLEMENT CLASS
23

24

25

26

27
                               DECLARATION OF PAUL S. ROTHSTEIN
28                                 CASE NO.: 3:18-CV-02300-WHA
                                                   PAGE 2
